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   (Additional Counsel Continued on Next Page)
14

15                             UNITED STATES DISTRICT COURT

16                           NORTHERN DISTRICT OF CALIFORNIA

17 SAUSALITO/MARIN COUNTY CHAPTER                 Case Number: 3:21-cv-01143-
   OF THE CALIFORNIA HOMELESS UNION,
18 et al.,                                        JOINT STATUS REPORT

19            Plaintiffs,                         Judge: Hon. Judge Edward M. Chen
                                                  Dept.: Courtroom 5 – 17th Floor
20
                                                  Date: August 2, 2022
21 v.                                             Time: 2:30 p.m.

22 CITY OF SAUSALITO, et al.

23            Defendants.
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     SMRH:4857-7279-7227.2                      -1-
        Case 3:21-cv-01143-EMC Document 160 Filed 07/26/22 Page 2 of 4




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     SMRH:4857-7279-7227.2                       -2-
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 1            Defendants City of Sausalito et al. (“City”) and Sausalito/Marin County Chapter of the

 2 California Homeless Union et al. (“Plaintiffs”) (jointly “Parties”) submit this status report as

 3 directed by the Court. (Dkt. No. 147.)

 4            Status of Case

 5            The Parties have continued to attend settlement conferences before Judge Illman and in the

 6 time since the last status conference on June 21, 2022, the Parties have made progress towards

 7 settlement of the case. The Parties will provide an update at the August 2 status conference.

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12 Dated: July 26, 2022

13                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
14

15                                       By                      /s/Alexander L. Merritt
16                                                             ALEXANDER L. MERRITT
                                                                ARTHUR J. FRIEDMAN
17
                                                              Attorneys for Defendants
18                                                  CITY OF SAUSALITO, JILL JAMES HOFFMAN,
                                                    JOHN ROHRBACHER, MARCIA RAINES, KENT
19                                                                    BASSO
20

21

22 Dated: July 26, 2022

23                                       LAW OFFICES OF ANTHONY D. PRINCE
24

25                                       By                       /s/ Anthony D. Prince
                                                                 ANTHONY D. PRINCE
26
27                                                                 Attorney for Plaintiff

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     SMRH:4857-7279-7227.2                            -3-
        Case 3:21-cv-01143-EMC Document 160 Filed 07/26/22 Page 4 of 4




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 2                                       PROOF OF SERVICE

 3        Sausalito/Marin County Chapter Of The California Homeless Union et al. v. City Of
                                          Sausalito et al.
 4                                 CASE NO. 3:21-cv-01143-LB

 5                           STATE OF TEXAS, COUNTY OF DALLAS

 6        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Dallas, State of Texas. My business address is 2200 Ross Avenue. 20th
 7 Floor, Dallas, Texas 75201.

 8        On July 26, 2022, I served true copies of the following document(s) described as JOINT
     STATUS REPORT on the interested parties in this action as follows:
 9
   Anthony David Prince                          Attorney for Plaintiff:
10 Law Offices of Anthony D.
   Prince                                        California Homeless Union/Sausalito Chapter
11 2425 Prince Street, #100
   Berkeley, CA 94705
12 510-845-5475
   princelawoffices@yahoo.com
13

14
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
15 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case who
   are registered CM/ECF users will be served by the CM/ECF system. Participants in the case who
16 are not registered CM/ECF users will be served by mail or by other means permitted by the court
   rules.
17
           I declare under penalty of perjury under the laws of the United States of America that the
18 foregoing is true and correct and that I am employed in the office of a member of the bar of this
   Court at whose direction the service was made.
19
           Executed on July 26, 2022, at Dallas. Texas
20

21

22                                                          /s/Belinda J. Jolivet
                                                      Belinda J. Jolivet
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                                                   -4-                              Case No. 3:21-cv-01143-LB
     SMRH:4857-7279-7227.2                                                               PROOF OF SERVICE
